 Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 1 of 25 Page ID #:1688



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11

12                         UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14                               WESTERN DIVISION
15

16

17    Kitsch LLC, a California
      company,                             Case No. 2:19-cv-02556-JAK-RAO
18

19                Plaintiff,               SECOND AMENDED COMPLAINT
      v.                                   FOR DECLARATORY JUDGMENT
20                                         AND DEMAND FOR JURY TRIAL
21    DEEJAYZOO, LLC, a New
      York company,
22
                  Defendant.
23

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 Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 2 of 25 Page ID #:1689



 1                 COMPLAINT FOR DECLARATORY JUDGMENT
 2                                 AND JURY DEMAND
 3
           Plaintiff Kitsch LLC (“Kitsch”), by and through its undersigned counsel, for
 4
     its Complaint against DEEJAYZOO, LLC (“DEEJAYZOO” or “Defendant”), states
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     as follows:
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                                        I.     PARTIES
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 8         1.      Plaintiff Kitsch is a Limited Liability Company organized under the
 9   laws of California, having a principal place of business at 307 N. New Hampshire,
10   Los Angeles, California 90004.
11         2.      On information and belief, Defendant DEEJAYZOO, LLC is a Limited
12   Liability Company organized under the laws of the State of New York, having a
13   principal place of business at 337 Kent Avenue, Brooklyn, New York 11249.
14
                            II.    JURISDICTION AND VENUE
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16         3.      As detailed below, an actual case or controversy exists between Kitsch

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     and the Defendant as to whether Kitsch has infringed or is infringing one or more

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     valid and enforceable claims of U.S. Patent No. 10,021,930 (the “’930 Patent”), U.S.

19
     Design Patent No. D775,792 (the “’792 Patent”), whether Kitsch has infringed U.S.

20
     Trademark Registration No. 5,208,472 (the “’472 Registration”), whether the ’930

21
     Patent, ’792 Patent, and/or ’472 Registration are invalid, and whether the ’930 Patent

22
     and/or ’792 Patent is unenforceable.

23         4.      The Court has subject matter jurisdiction over the claims herein

24   pursuant to 28 U.S.C. §§ 1331, 1338(a), 2201 and 2202.

25         5.      Venue and personal jurisdiction are appropriate in this Court under 28

26   U.S.C. §§ 1391(b) and 1400(b) because a substantial part of the events and

27   omissions giving rise to Kitsch’s claims occurred in this District.

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       SECOND AMENDED COMPLAINT                  1                Case No. 2:19-cv-02556-JAK-RAO
 Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 3 of 25 Page ID #:1690



 1
            6.     A case or controversy exists between Kitsch and Defendant because
 2
     Defendant has accused Kitsch and its customers of patent and trademark
 3
     infringement and has threatened litigation.
 4
            7.     Upon information and belief, Defendant does business in this state and
 5
     in this District.
 6
                              III.   FACTUAL BACKGROUND
 7

 8   A.     Kitsch and Kitsch’s Shower Cap Products
 9          8.     Kitsch is a leading accessories manufacturer with products including,
10   hair ties, headbands, and jewelry, including rings, necklaces, earrings and other
11   fashion accessories. Today, Kitsch products can be found in over 2,000 locations
12   worldwide and has sold to large retailers such as Nordstrom, Anthropologie, Free
13   People, Kitson, Urban Outfitters, Paper Source, W Hotels, Francesca's and more.
14   Kitsch additionally operates an e-commerce website that serves thousands of retail
15   customers worldwide.
16          9.     One of the many accessories Kitsch designed and manufactures is a
17   fashion shower cap, an example of which is shown below:
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       SECOND AMENDED COMPLAINT                    2             Case No. 2:19-cv-02556-JAK-RAO
 Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 4 of 25 Page ID #:1691



 1
           10.    Among other venues, Kitsch advertises and sells its shower caps at
 2
     Paper Source and Urban Outfitters.
 3
           11.    When Kitsch first began selling its shower caps, it used the descriptive
 4
     phrase “the shower cap reinvented” to describe the products. Kitsch has ceased its
 5
     use of this phrase.
 6
     B.    Defendant’s Wrongful Conduct
 7
           12.    DEEJAYZOO is a competitor of Kitsch that also sell shower caps.
 8
           13.    On or around July 19, 2018, Defendant, through its attorneys, sent a
 9
     letter to Kitsch accusing Kitsch of infringing the ’930 Patent, ’792 Patent, and ’472
10
     Registration. See Exh. 4. The letter also stated that “DEEJAYZOO vigorously
11
     defends its valuable intellectual property rights.” Id.
12
           14.    On or around August 8, 2018 Kitsch responded to Defendant’s July 19,
13
     2018 letter explaining why Defendant’s allegations were unfounded. See Exh. 5.
14
           15.    On or around August 28, 2018, Defendant responded to Kitsch’s
15
     August 8, 2018 letter stating, inter alia, “[a]bsent Kitsch’s confirmation that it has
16
     ceased the marketing and sale of its infringing products, DEEJAYZOO will be
17
     forced to explore its alternatives.” See Exh. 6 (emphasis added).
18
           16.    On or around December 18, 2018, Defendant again threatened Kitsch
19
     with litigation by sending an email stating “Deejayzoo expects nothing less than
20
     complete cessation of the sale of the infringing products and is prepared to enforce
21
     its rights as necessary.” See Exh. 6.
22
           17.    Defendant continued its threatening behavior towards Kitsch by
23
     sending cease and desist letters to at least two of Kitsch’s clients—Paper Source and
24
     Urban Outfitters. See Exhs. 7 and 8, respectively. In the letter to Paper Source,
25
     Defendant repeated its statement that “DEEJAYZOO vigorously defends its
26
     valuable intellectual property rights.” Exh. 7. And in the letter to Urban Outfitters,
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       SECOND AMENDED COMPLAINT                   3               Case No. 2:19-cv-02556-JAK-RAO
 Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 5 of 25 Page ID #:1692



 1
     Defendant stated that Defendant intended to “obtain relief from a proper tribunal
 2
     regarding Kitsch’s infringement.” Exh. 8.
 3
           18.      In light of Defendant’s repeated threats of litigation against Kitsch, an
 4
     actual case or controversy exists between the parties.
 5
     C.    Kitsch Does Not Infringe the ’930 Patent
 6

 7         19.      DEEJAYZOO purports to be the owner of the ’930 Patent, which was
 8   filed on August 27, 2015 and matured into a patent on July 17, 2018. See Exh. 1.
 9   The ’930 Patent claims priority to the ’792 Patent. The ’930 Patent, entitled “Noise
10   Reducing Water Resistant Headpiece,” seven claims that are generally directed
11   towards a shower cap. Id. Claim 1 is the only independent claim of the ’930 Patent,
12   and the remaining claims each depend from claim 1. Claim 1 is reproduced below:
13
                    A covering apparatus comprising:
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                    a unitary material;
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16                  a grip;

17                  an elastic member;
18                  a gathered band; and
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                    an elongated band;
20
                 wherein the gathered band and the elongated band are of a unitary
21         construction;
22
                 wherein the gather band and the elongated band are attached to a
23         periphery of the covering apparatus;
24                  wherein the elastic member is enclosed within the gathered band;
25
                    wherein the unitary material comprises an outer layer and an inner
26         layer;
27                  wherein the outer layer comprises a fabric;
28
                    wherein the outer layer is water repellent;

       SECOND AMENDED COMPLAINT                    4                Case No. 2:19-cv-02556-JAK-RAO
 Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 6 of 25 Page ID #:1693



 1                wherein the inner layer is polyurethane;
 2
                  wherein the covering apparatus comprises a plurality of folds;
 3
                 wherein the plurality of folds culminate in a point at a front of the
 4         covering apparatus above the elongated band;
 5
                 wherein the elastic member is located at a rear of the covering
 6         apparatus;
 7         and wherein the covering apparatus is a shower cap.
 8
     Id.
 9
           20.    The Kitsch shower cap does not meet many of the limitations of the
10
     ’930 Patent. For example, the grip and elongated band in the Kitsch shower cap are
11
     not of unitary construction but are instead made from two distinct pieces of fabric as
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     shown below:
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       SECOND AMENDED COMPLAINT                  5                Case No. 2:19-cv-02556-JAK-RAO
 Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 7 of 25 Page ID #:1694



 1
           Similarly, the folds in the Kitsch shower cap do not culminate in a point in the
 2
     front of the shower cap, but rather end at different points around the perimeter in the
 3
     front of the shower cap as shown below:
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           The Kitsch shower caps are also made of a single layer of fabric, not two
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     layers as required by the claims. The foregoing are non-limiting examples of the
16
     reasons for which the Kitsch shower cap does not infringe the ’930 Patent.
17

18   D.    The ’930 Patent is Invalid

19         21.    The ’930 Patent on August 27, 2015. The ’930 Patent is a continuation
20   in part of the ’792 patent. The ’930 Patent is not entitled to a priority date any earlier
21   than its filing date of August 27, 2015. Because the ’930 patent was filed after
22   September 16, 2012, it is governed by the America Invents Act.
23         22.    The ’930 Patent is invalid for failure to comply with 35 U.S.C. § 103
24   in light of at least one or more of the following pieces of prior art: (1) the TLC
25   Shower Cap; (2) the Louvelle Amelie Shower Cap; (3) the Louvelle Dahlia Shower
26   Cap; and/or (4) German Patent No. DE2708558.
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       SECOND AMENDED COMPLAINT                    6                 Case No. 2:19-cv-02556-JAK-RAO
 Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 8 of 25 Page ID #:1695



 1
           23.    The TLC Shower Cap was sold at least as early as 2012 and thus
 2
     constitutes prior art to the ’930 Patent. Attached as Exhibit 9 is a claim chart showing
 3
     how the TLC Shower Cap renders the ’930 Patent obvious under 35 U.S.C. § 103.
 4
           24.    The Louvelle Amelie Shower Cap was sold at least as early as August
 5
     2014 and thus constitutes prior art to the ’930 Patent. Attached as Exhibit 10 is a
 6
     claim chart showing how the Louvelle Amelie Shower Cap renders the ’930 Patent
 7
     obvious under 35 U.S.C. § 103.
 8
           25.    The Louvelle Dahlia Shower Cap was sold at least as early as August
 9
     2014 and thus constitutes prior art to the ’930 Patent. Attached as Exhibit 11 is a
10
     claim chart showing how the Louvelle Dahlia Shower Cap renders the ’930 Patent
11
     obvious under 35 U.S.C. § 103.
12
           26.    German patent DE2708558 was issued on August 31, 1978 and thus
13
     constitutes prior art to the ’930 Patent. A true and correct copy of DE2708558 is
14
     attached hereto as Exhibit 12 and a machine translation of DE2708558 is attached
15
     hereto as Exhibit 13. Attached as Exhibit 14 is a claim chart showing how
16
     DE2708558 renders the ’930 Patent obvious under 35 U.S.C. § 103.
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           27.    In September 2006, Prada debuted its Spring 2007 ready-to-wear line
18
     included the following turban:
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       SECOND AMENDED COMPLAINT                   7                 Case No. 2:19-cv-02556-JAK-RAO
 Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 9 of 25 Page ID #:1696



 1
     This turban shall be referred to as the “Prada Turban.” Attached as Exhibit 15 is a
 2
     claim chart showing how the Prada Turban renders the ’930 Patent obvious under
 3
     35 U.S.C. § 103
 4
            28.    The ’930 Patent is also invalid for failure to comply with 35 U.S.C. §
 5
     112(a) and (b). Claim 1 of the ’930 Patent requires the outer layer be “water
 6
     repellant” and claim 6 requires the fabric is “antimicrobial” or “breathable.” Yet
 7
     none of these terms are not defined or described anywhere in the specification. The
 8
     inclusion of these terms in the claims thus violates the requirement under 35 U.S.C.
 9
     § 112(a) that the specification contain a written description of the invention and the
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     requirement under 35 U.S.C. § 112(b) that the specification “conclude with one or
11
     more claims particularly pointing out and distinctly claiming the subject matter
12
     which the inventor regards as the invention.”
13
            29.    The foregoing is based on Kitsch’s investigation to date. Kitsch’s
14
     invalidity investigation is ongoing, and Kitsch believes there may be additional
15
     bases for invalidity that will be found through discovery and Kitsch’s continued
16
     investigation.
17
     E.     Kitsch Does Not Infringe the ’792 Patent
18

19          30.    DEEJAYZOO is also the owner of the ’792 Patent, which was filed on
20   October 10, 2014 and matured into a patent on January 10, 2017. See Exh. 2. The
21   ’792 Patent, entitled “Noise Reducing Water Resistant Headwear Cap,” lists a single
22   claim for “the ornamental design for a noise reducing water resistant headwear cap”
23   as illustrated in the patent. Id.
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       SECOND AMENDED COMPLAINT                  8                Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 10 of 25 Page ID #:1697



 1
           31.    The Kitsch shower cap does not infringe the ’792 Patent because an
 2
     ordinary observer would not consider the design in the ’792 Patent and the design of
 3
     the Kitsch show cap to be substantially the same. This is because, as shown below,
 4
     in the design of the ’792 patent, the folds in the front of the shower cap cover the
 5
     majority of the band around the bottom of the shower cap, the folds are equally
 6
     spaced around the front of the shower cap, and the band around the bottom of the
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     shower cap is significantly smaller. The Kitsch shower cap does not contain any of
 8
     these features:
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18   F.    The ’792 Patent is Invalid

19         32.    Unlike utility patents that protect the manner in which a product is used
20   and functions (35 U.S.C. §101), design patents only protect the way a product looks,
21   i.e., the ornamental design characteristics embodied in or applied to the product (35
22   U.S.C. §171). The scope of protection afforded under a design patent is limited to
23   the ornamental aspects of the claimed article alone and does not extend to any of the
24   article’s functional elements.
25         33.    The ’792 Patent discloses an article that is entirely functional, given
26   that the entire shower cap is designed to “provide[] a more relaxing shower
27   experience by reducing the volume experienced by a user of said shower cap.” See
28   Exh. 1 at col. 1, ll. 15-16. The functionality of the shower cap claimed in the ’792

       SECOND AMENDED COMPLAINT                  9                Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 11 of 25 Page ID #:1698



 1
     Patent is confirmed by the fact that Defendant claimed all of the purportedly
 2
     “ornamental” features in the ’930 Patent, including the material (and that the
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     material can comprise “a plurality of digitally sublimated designs”), the grip (and
 4
     the material from which the grip is made), the elastic band, the elongated band, the
 5
     gathered band, the folds which “culminate in a point at a front of the covering
 6
     apparatus.” Id at Claims.
 7
           34.    In addition, the ’792 Patent is rendered invalid under 35 U.S.C. §103
 8
     by the Prada Turban, which has the same ornamental design as shown in the ’792
 9
     Patent.
10
           35.    The foregoing is based on Kitsch’s investigation to date. Kitsch’s
11
     invalidity investigation is ongoing, and Kitsch believes there may be additional
12
     bases for invalidity that will be found through discovery and Kitsch’s continued
13
     investigation.
14
     G.    The ’930 and ’792 Patent are Unenforceable
15

16         36.    In addition, the ’930 Patent and the ’792 Patent are unenforceable
17   because the inventor intentionally withheld material information from the PTO
18   during the prosecution of the ’930 Patent and the ’792 Patent.
19         37.    As described above, in 2006 Prada debuted the Prada Turban in its 2007
20   Spring Ready-To-Wear Line.
21         38.    Jaquelin De Jesu, the sole inventor of the ’930 Patent and the ’792
22   Patent, was aware of the Prada Turban when she designed the purported inventions
23   claimed in the ’930 Patent and the ’792 Patent. Additionally, Ms. De Jesu knew that
24   the Prada Turban was highly relevant prior art because she specifically presented it
25   as such during a 2017 design conference, yet at the same time, Ms. De Jesu willfully
26   withheld this same prior art from the USPTO.
27         39.    Indeed, on September 15, 2017, Ms. De Jesu gave a presentation at the
28   2017 Brand New Conference in Chicago, Illinois. During this speech, Ms. De Jesu


       SECOND AMENDED COMPLAINT                 10               Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 12 of 25 Page ID #:1699



 1
     displayed a number of prior art turbans from the 1920s through the 2000s, including
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     the Prada Turban. This is shown in the following screenshot from her speech:
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           40.    While she was showing the audience this screenshot, Ms. De Jesu
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     specifically stated that she chose the turban style because “Where I started was that
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     I knew I wanted it to be chic and timeless. So turbans as a category felt right. They’ve
17
     been on runways and on women’s heads for the better part of this past century and
18
     they had a resurgence in the 2000s.”
19
           41.    During the 2017 Brand New Conference, Ms. De Jesu also displayed
20
     what appears to be her first sketches of the shower cap, which contain multiple
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     elements that both matched the Prada Turban and were essential to the prosecution
22
     of the ’930 Patent and the ’792 Patents as shown in the annotated images below:
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       SECOND AMENDED COMPLAINT                   11                Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 13 of 25 Page ID #:1700



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            42.    During her 2017 Brand New Conference speech, Ms. De Jesu also
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     emphasized the importance of getting patent protection for her design. For example,
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     when discussing the development process Ms. De Jesu noted that she contacted a
16
     patent attorney regarding protection before she had even come up with a design,
17
     stating “I treated this like it was a thing before it was a thing. I called a patent lawyer”
18
     while showing the following slide:
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       SECOND AMENDED COMPLAINT                     12                Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 14 of 25 Page ID #:1701



 1
            43.    Ms. De Jesu again emphasized the importance of patent protection later
 2
     in the speech, stating “I wanted [the shower cap] to be recognizable. I wanted it to
 3
     be ownable. And I wanted it to be patentable so that when it was ownable I could
 4
     sue them” while showing this slide:
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            44.    Despite the fact that Ms. De Jesu was aware of the Prada Turban when

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     she filed the applications that led to the ’930 and ’792 Patents, she never disclosed

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     the existence of the Prada Turban to the USPTO.

19
            45.    When the examiner issued his Notice of Allowability for the ’792

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     Patent, he included “reasons for allowance” (Ex. 16). There, he explained that the

21
     design claimed in the ’792 patent was allowable specifically because of the gathering

22
     of folds in the front:

23          Very similar designs were found when searching for prior art that included
            an encircling band along the base of the headwear with gathered portions
24
            of the cap. However, no prior art references were found to teach the
25          gathering of the front portion of the headwear as shown in the claimed
            design.
26

27          For instance, the claimed design includes gathering of the front portion of
            the headwear cap that begins at the top of the encircling band in the center
28          and radiates outward forming multiple pleats of an unexpected

       SECOND AMENDED COMPLAINT                   13               Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 15 of 25 Page ID #:1702



 1         appearance. Given the unique configuration of these pleats, the claimed
 2         design appeared distinct from the prior art, so no prior art rejection was
           made.
 3
     (Ex. 16; emphasis added.)
 4

 5         46.    As shown below, however, the Prada Turban has the exact same
 6   arrangement of pleats (folds) in the front as the cap claimed in the ’792 Patent. And
 7   since the examiner specifically relied on the absence of this feature in the prior art,
 8   it would have been highly material for the examiner to learn that there was a prior
 9   art turban that contained these pleats.
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           47.    During prosecution of the application that led to the ’930 Patent, the
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     examiner rejected the application on the basis that a prior art reference, Damman,
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     “includes a plurality of folds.” (Ex. 17.)
25
           48.    On October 30, 2017—just 45 days after Ms. De Jesu made her
26
     presentation at the New Brand Conference in which she presented that the Prada
27
     Turban was prior art, Ms. De Jesu, submitted an amendment and response to the
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       SECOND AMENDED COMPLAINT                   14               Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 16 of 25 Page ID #:1703



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     Office Action in which she amended the claims to include a plurality of folds that
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     culminate in a single point and argued that the invention claimed in the ’930 patent
 3
     was patentable over the prior art because the prior art did not teach a plurality of
 4
     folds in which each of the folds culminated at a single point in the front of the cap.
 5
     (Ex. 18 at 9-11.)
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           49.    As a result of these amendments and arguments, Ms. De Jesu was
 7
     ultimately able to overcome the rejection to the plurality of folds limitation based on
 8
     Damman. It therefore would have been highly material for the examiner to learn that
 9
     there was a prior art turban that contained these pleats.
10
           50.    Additionally, on March 15, 2017, the examiner rejected the application
11
     that led to the ’930 Patent based on Damman in view of another prior art reference
12
     called Saunders. (Ex. 19.) In this rejection, the examiner noted that disclosed a
13
     shower cap with an elastic member that is enclosed in the back. (Id.)
14
           51.    On June 14, 2017, Ms. De Jesu, filed an amendment and response to
15
     overcome the March 15, 2017 rejection. In the amendment Ms. De Jesu, inter alia,
16
     added the limitations that the elastic member be located at the rear of the cap and not
17
     extend around the entire periphery of the cap. (Ex. 20.) Ms. De Jesu then argued that
18
     the amended claims were patentable because, inter alia, Damman taught an elastic
19
     band that extended around the entire perimeter of the cap whereas the amended
20
     claims only had an elastic member in the rear of the shower cap:
21
           Dammann does not teach at least the claim limitation of amended claim 1
22
           and new claim 25 of “wherein the elastic member does not extend
23         around an entire perimeter of the unitary material.” The Office Action
           identifies item “108.1” of Dammann as the claimed “elastic member”
24
           (See, e.g., Figure 1A reproduced below):
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       SECOND AMENDED COMPLAINT                  15                Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 17 of 25 Page ID #:1704



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         As shown above, Dammann's alleged “elastic member” — i.e., item
 9
         “108.1” -- extends around the entire perimeter of the alleged “unitary
10       material” — item “100”. In contrast, a shower cap meeting the claim
         limitation of “wherein the elastic member does not extend around an
11
         entire perimeter of the unitary material” is shown with respect to Figures
12       9 and 10 of the as-published application below:
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         As detailed above, the elastic member is shown as item “102” and only
21       limited to a portion of the perimeter of the unitary material — i.e., “the
22
         elastic member does not extend around an entire perimeter of the
         unitary material.” Accordingly, since Dammann teaches an elastic
23       member that extends around the entire perimeter of the unitary material,
24       Dammann does not teach at least the claim limitation of “wherein the
         elastic member does not extend around an entire perimeter of the
25       unitary material.”
26
         Moreover, the secondary reference, Saunders, does not remedy the
27       deficiencies of Dammann. Accordingly, Dammann and Saunders,
         separately or in combination, does not render independent claims 1 and
28
         27 are obvious.

     SECOND AMENDED COMPLAINT                 16               Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 18 of 25 Page ID #:1705



 1   (Id. at 10-11; emphasis in original.)
 2
           52.    As a result of these amendments and arguments, Ms. De Jesu was
 3
     ultimately able to overcome the rejection to the elastic member based on Damman
 4
     in light of Saunder. It therefore would have been highly material for the examiner to
 5
     learn that there was a prior art turban (i.e., the Prada Turban) that contained an elastic
 6
     member in the back of the turban only as shown in the image below:
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18         53.    As the named inventor and the applicant on the applications that led to
19   the ’930 Patent and ’792 Patent, Ms. De Jesu had a duty to disclose to the USPTO
20   all information known to her to be material to patentability under in 37 C.F.R. §
21   1.56. Ms. De Jesu’s attorneys also had a duty of candor to the USPTO. Id.
22         54.    Because Ms. De Jesu knowingly failed to disclose material information
23   to the USPTO with an intent to deceive the USPTO, she committed inequitable
24   conduct and the ’930 Patent and ’792 Patent are unenforceable.
25   H.    Kitsch Does Not Infringe the ’472 Registration
26
           55.    Deejazoo has stated that it is the owner of the ’472 Registration for THE
27
     SHOWER CAP REINVENTED. See Exhs. 3 and 4. The application that led to the
28


       SECOND AMENDED COMPLAINT                    17                Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 19 of 25 Page ID #:1706



 1
     ’472 Registration was filed on September 27, 2016 and the ’472 Registration issued
 2
     on May 23, 2017.
 3
             56.   Despite     obtaining   a   registration   for   THE    SHOWER         CAP
 4
     REINVENTED, Deejayzoo does not use the ® with THE SHOWER CAP
 5
     REINVENTED mark on its product.
 6
             57.   Even if the mark of the ’472 Registration is registrable, which it is not,
 7
     there is no likelihood that consumers would be confused between the Kitsch shower
 8
     cap and Defendant’s product. This is because, inter alia, Kitsch has only ever used
 9
     the mark in close proximity to its KITSCH trademark and, as such, no reasonable
10
     consumer would be confused regarding the source of Kitsch’s products.
11
     I.      The ’472 Registration Should be Canceled
12

13           58.   The mark of the ’472 Registration, THE SHOWER CAP
14   REINVENTED, should be canceled is descriptive because it describes precisely
15   what Defendant has claimed to do, i.e., reinvent the shower cap. As such, THE
16   SHOWER CAP REINVENTED is only protectable upon a showing of secondary
17   meaning. Here, the SHOWER CAP REINVENTED has not obtained secondary
18   meaning and, as such, is not protectable.
19                                 IV. COUNT I
20                       DECLARATION OF NON-INFRINGEMENT

21           59.   Kitsch repeats and realleges the allegations of the preceding paragraphs
22
     as if set forth herein.
23           60.   As described herein, Kitsch is not infringing, and has not infringed,
24
     directly, by inducement, contributorily, or in any way, either literally or under the
25   doctrine of equivalents, any valid and enforceable claims of the ’930 Patent.
26
             61.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et
27   seq., Kitsch requests a declaration from the Court that Kitsch does not and has not
28   infringed the ’930 Patent.

          SECOND AMENDED COMPLAINT                 18                Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 20 of 25 Page ID #:1707



 1                                  V.  COUNT II
 2                         DECLARATION OF PATENT INVALIDITY

 3          62.    Kitsch repeats and realleges the allegations of the preceding paragraphs
 4   as if set forth herein.
 5          63.    The claims of the ’930 Patent are invalid under at least 35 U.S.C. §§103
 6   and 112 for the reasons described above in Paragraphs 21-27 and the exhibits
 7
     referenced therein.
 8          64.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et
 9
     seq., Kitsch requests a declaration from the Court that the ’930 Patent is invalid.
10
                                  VI. COUNT III
11                       DECLARATION OF NON-INFRINGEMENT
12
            65.    Kitsch repeats and realleges the allegations of the preceding paragraphs
13
     as if set forth herein.
14
            66.    As described herein, Kitsch is not infringing, and has not infringed,
15
     directly, by inducement, contributorily, or in any way, either literally or under the
16
     doctrine of equivalents, any valid and enforceable claims of the ’729 Patent.
17
            67.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et
18
     seq., Kitsch requests a declaration from the Court that Kitsch does not and has not
19
     infringed the ’729 Patent.
20

21                                VII. COUNT IV
                         DECLARATION OF PATENT INVALIDITY
22

23          68.    Kitsch repeats and realleges the allegations of the preceding paragraphs
24   as if set forth herein.
25          69.    The claim of the ’729 Patent is invalid under at least 35 U.S.C. § 171
26   as being directed towards functional subject matter for the reasons described above
27   in Paragraphs 31-32.
28


       SECOND AMENDED COMPLAINT                  19               Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 21 of 25 Page ID #:1708



 1
             70.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et
 2
     seq., Kitsch requests a declaration from the Court that the ’729 Patent is invalid.
 3
                                   VIII. COUNT V
 4
                         DECLARATION OF NON-INFRINGEMENT
 5

 6           71.   Kitsch repeats and realleges the allegations of the preceding paragraphs

 7   as if set forth herein.

 8           72.   As described herein, there is no likelihood of confusion between

 9   Kitsch’s former packaging and the mark of the ’472 Registration.

10           73.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201

11   et seq., Kitsch requests a declaration from the Court that Kitsch does not and has not

12   infringed the ’472 Registration.

13                               IX. COUNT VI
                      CANCELLATION OF THE ’472 REGISTRATION
14

15           74.   Kitsch repeats and realleges the allegations of the preceding paragraphs
16   as if set forth herein.
17           75.   The ’472 Registration is not registrable because it is descriptive and has
18   not obtained secondary meaning.
19           76.   Kitsch is or will be damaged by the continued existence of the ’472
20   Registration.
21           77.   Kitsch thus requests that this Court order the U.S. Patent and
22   Trademark Office to cancel the ’472 Registration pursuant to 15 U.S.C. §§ 1064 and
23   1119.
24
                                  X.  COUNT VII
25                       DECLARATION OF UNENFORCEABILITY
26
             78.   Kitsch repeats and realleges the allegations of the preceding paragraphs
27
     as if set forth herein.
28
             79.   The ’930 Patent is unenforceable due to inequitable conduct.

       SECOND AMENDED COMPLAINT                   20                Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 22 of 25 Page ID #:1709



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            80.     As the inventor and applicant of the ’930 Patent, Ms. De Jesu owed a
 2
     duty of candor and good faith to the USPTO with respect to the prosecution of the
 3
     ’930 Patent.
 4
            81.     As described herein, Ms. De Jesu failed to comply with this duty of
 5
     candor by not disclosing the Prada Turban to the USPTO.
 6
            82.     Had the USPTO known about the Prada Turban, it would not have
 7
     granted the ’930 Patent. Thus, the information Ms. De Jesu withheld from the
 8
     USPTO was material.
 9
            83.     The single most reasonable inference able to be drawn from the
10
     evidence is that Ms. De Jesu intended to deceive the USPTO by withholding highly
11
     material information.
12
            84.     As a result of Ms. De Jesu’s failure to disclose the Prada Turban with
13
     an intent to deceive the USPTO, Ms. De Jesu committed inequitable conduct,
14
     thereby rendering the ’930 patent unenforceable.
15
                                  XI. COUNT VIII
16
                         DECLARATION OF UNENFORCEABILITY
17

18
            85.     Kitsch repeats and realleges the allegations of the preceding paragraphs

19
     as if set forth herein.

20
            86.     The ’792 Patent is unenforceable due to inequitable conduct.

21
            87.     As the inventor and applicant of the ’792 Patent, Ms. De Jesu owed a

22
     duty of candor and good faith to the USPTO with respect to the prosecution of the

23   ’792 Patent.

24          88.     As described herein, Ms. De Jesu failed to comply with this duty of

25   candor by not disclosing the Prada Turban to the USPTO.

26          89.     Had the USPTO known about the Prada Turban, it would not have

27   granted the ’792 Patent. Thus, the information Ms. De Jesu withheld from the

28   USPTO was material.


       SECOND AMENDED COMPLAINT                   21               Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 23 of 25 Page ID #:1710



 1
           90.   The single most reasonable inference able to be drawn from the
 2
     evidence is that Ms. De Jesu intended to deceive the USPTO by withholding highly
 3
     material information.
 4
           91.   As a result of Ms. De Jesu’s failure to disclose the Prada Turban with
 5
     an intent to deceive the USPTO, Ms. De Jesu committed inequitable conduct,
 6
     thereby rendering the ’792 patent unenforceable.
 7

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 9

10                                PRAYER FOR RELIEF
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           WHEREFORE, Plaintiff respectfully requests the following relief:
12
           a.    A declaration that Kitsch does not infringe and has not infringed any
13
     claims of the ’930 Patent or ’792 Patent;
14
           b.    A declaration that the ’930 Patent and ’792 Patent are invalid under 35
15
     U.S.C. §§102, 103 and 112;
16
           c.    A declaration that Kitsch does not infringe the ’472 Registration;
17
           d.    An Order directing the U.S. Patent and Trademark Office to cancel the
18
     ’472 Registration;
19
           e.    A declaration that the ’930 Patent and ’792 Patent are unenforceable;
20
           f.    A declaration that this is an exceptional case and award Kitsch its costs,
21
     disbursements, and reasonable attorneys’ fees pursuant to 35 U.S.C. § 285 and/or 15
22
     U.S.C. § 1117; and
23
           g.    Such other and further relief as the Court may deem just and proper.
24

25
26   Dated: ______________                 Respectfully submitted,
27                                         By: /s/ Rebecca J. Cantor
                                           Mark A. Cantor (Admitted Pro Hac Vice)
28                                         Rebecca J. Cantor (Admitted Pro Hac Vice)
                                           Marc Lorelli (Admitted Pro Hac Vice)

       SECOND AMENDED COMPLAINT                  22             Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 24 of 25 Page ID #:1711



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 9                                    Attorneys for Plaintiff
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     SECOND AMENDED COMPLAINT             23                Case No. 2:19-cv-02556-JAK-RAO
Case 2:19-cv-02556-JAK-RAO Document 70 Filed 06/17/20 Page 25 of 25 Page ID #:1712



 1                                     JURY DEMAND
 2         Plaintiff Kitsch LLC demands trial by jury of all issues in this action so triable.
 3

 4   Dated: June 17, 2020                   Respectfully submitted,
 5
                                            By: /s/ Rebecca J. Cantor
 6                                          Mark A. Cantor (Admitted Pro Hac Vice)
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      SECOND AMENDED COMPLAINT                   24                Case No. 2:19-cv-02556-JAK-RAO
